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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     BRYON JACKSON,                                     Case No. 21-cv-08458-LB
                                  12                    Plaintiff,
Northern District of California
 United States District Court




                                                                                            NOTICE REGARDING RESOURCES
                                  13             v.

                                  14     TARGET CORPORATON,
                                  15                    Defendant.

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                                  17      Because you are representing yourself in this case, the court issues this notice to you about

                                  18   legal resources available to you. First, the court attaches a copy of the district court’s handbook

                                  19   Representing Yourself in Federal Court. It provides instructions on how to proceed at every stage

                                  20   of your case, including discovery, motions, and trial. Second, you may wish to seek assistance

                                  21   from the Legal Help Center, a free service of the Volunteer Legal Services Program, by calling

                                  22   415-782-8982, or by signing up for an appointment on the 15th Floor of the Federal Courthouse in

                                  23   San Francisco, 450 Golden Gate Avenue, San Francisco, California. At the Legal Help Center,

                                  24   you will be able to speak with an attorney who may be able to provide basic legal help but not

                                  25   representation. A copy of the Legal Help Center’s flyer is attached.

                                  26      IT IS SO ORDERED.

                                  27      Dated: November 1, 2021                       ______________________________________
                                                                                        LAUREL BEELER
                                  28                                                    United States Magistrate Judge

                                       NOTICE – No. 21-cv-08458-LB
